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               IN THE UNITED STATES DISTRICT COURT FOR THE

                          DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
                Plaintiff,    )                   8:08CR380
                              )
          v.                  )
                              )
STEVE KISSEBERTH,             )                        ORDER
RICHARD CONWAY,               )
                              )
                Defendants.   )
______________________________)


           This matter is before the Court on plaintiff’s motion

to file sealed motions (Filing No. 126).              The Court finds the

motion should be granted.      Accordingly,

           IT IS ORDERED that the motion is granted; Filing Nos.

127 and 128 shall remain sealed until further order of the Court.

           DATED this 28th day of December, 2011.

                                    BY THE COURT:

                                    /s/ Lyle E. Strom
                                    ______________________________
                                    LYLE E. STROM, Senior Judge
                                    United States District Court
